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 7
      Attorneys for Plaintiff,
      SANDRA EDMONDS
 8

 9                            UNITED STATES DISTRICT COURT
10
                             CENTRAL DISTRICT OF CALIFORNIA

11    Sandra Edmonds,                              Case No.: 2:20-cv-06115-ODW-PD
12
                     Plaintiff,
13
            vs.                                    JOINT STIPULATION FOR
14                                                 DISMISSAL WITH PREJUDICE OF
      MCS Fox Hills Plaza LLC, a California
      Limited liability Company; and Does 1-       ALL DEFENDANTS
15
      10,
16
                     Defendants.
17
                                                   [Fed. R. Civ. P. Rule 41(a)(2)]
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22
            IT IS HEREBY STIPULATED by and between the Plaintiff Sandra

23    Edmonds on the one hand, and Defendant MCS Fox Hills Plaza LLC, on the other
24    hand, by themselves and/or through their respective attorneys of record that,
25    pursuant to Federal Rules of Civil Procedure, Rule 41 (a)(1) and (2), this Court
26    enter a dismissal with prejudice of Defendants MCS Fox Hills Plaza LLC, from
27    Plaintiff’s Complaint, Case Number 2:20-cv-06115-ODW-PD. The parties herein
28    reached settlement of the present action.
                  JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE OF ALL DEFENDANTS
     Case 2:20-cv-06115-ODW-PD Document 21 Filed 09/30/20 Page 2 of 3 Page ID #:93



 1              Since no Defendants shall remain in this action, Plaintiffs request that
 2    Plaintiff’s Complaint be dismissed with prejudice in its entirety. Each party will be
 3
      responsible for their own fees and costs.
 4

 5
      IT IS SO STIPULATED.
 6

 7

 8     Dated: September 21, 2020            THE LAW OFFICE OF HAKIMI &
 9
                                            SHAHRIARI

10

11
                                            By: /s/Peter Shahriari
12
                                                Peter Shahriari, Esq.
13                                              Attorneys for Plaintiff, Sandra Edmonds
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15

16
       Dated: September 21, 2020            KIMBALL, TIREY & ST. JOHN LLP
17

18

19
                                            By: /s/ Craig McMahon
20                                              Craig McMahon, Esq.
                                                Attorneys for Defendants, MCS Fox Hills
21
                                                Plaza LLC
22
                                   SIGNATURE ATTESTATION
23

24              I hereby attest that all signatories listed above, on whose behalf this
25    stipulation is submitted, concur in the filing's content and have authorized the
26    filing.
27

28
                   JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE OF ALL DEFENDANTS
     Case 2:20-cv-06115-ODW-PD Document 21 Filed 09/30/20 Page 3 of 3 Page ID #:94



 1                                                     PETER SHAHRIARI

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 3
                                                  /s/ Peter Shahriari
 4
                                            By: Peter Shahriari
 5                                          Attorney for Plaintiff Sandra Edmonds
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              JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE OF ALL DEFENDANTS
